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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES -REOPENING/CLOSING

Case No. CV 20-04790-JWH(RAOx)                                   Date June 24, 2022

Title: The PLS.com, LLC v The National Association of Realtors, et al

Present: The Honorable John W. Holcomb, U.S. District Judge




                Deborah Lewman                                           N/A
                Deputy Clerk                                    Court Reporter / Recorder


Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
N/A                                                N/A




Proceedings:    G In Court          ✘ In Chambers
                                    G                    G Counsel Notified

G Case previously closed in error. Make JS-5.

G Case should have been closed on entry dated                           .

G Case settled but may be reopened if settlement is not consummated within                        days.
  Make JS-6.

✘ Other The case should have been reopened on 5/18/22 when the Mandate was issued/filed.
G

G Entered                                  .




                                                                 Initials of Preparer       djl




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
